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UNITED STATES DISTRICT COURT _
CENTRAL DISTRICT OF CALIFORNIA z
23 &
UNITED STATES OF AMERICA, CASE NEMRE] 8 _ TAY
PLAINTIFF 0 0 o 2 9 JA
CR No.
Vv.
? RELATED CRIMINAL CASE
DEFENDANTS
(PURSUANT TO GENERAL ORDER 14-03)

Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to United States v. Ashley, et al., Case No. CR 17-393-MWE,

which:

* was previously assigned to the Honorable Michael W. Fitzgerald;

has not been previously assigned.

The above-entitled cases may be related for the following reasons:

x _ the cases arise out of the same conspiracy, common scheme, transaction,
series of transactions or events;

x the cases involve one or more defendants in common and would entail

substantial duplication of labor in pretrial, trial or sentencing proceedings if
heard by different judges.

Additional explanation (if any):

Dated: August 16, 2018

alee United States Attorney

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